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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



DONNY PHILLIPS,

      Plaintiff,                         Case No. 4:18-cv-139-AW-MJF

v.

RICKY DIXON, et al.,

      Defendants.


           PLAINTIFF’S MOTION FOR LEAVE TO
           FILE SHORT REPLY TO DEFENDANT
        CRUTCHFIELD’S OBJECTIONS TO PETITION
     FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM

     Pursuant to Local Rule 7.1(I), Plaintiff Donny Phillips respectfully

moves for leave to file a short, 500-word reply to Defendant

Crutchfield’s Partial Opposition to Plaintiff’s Petition for Writs of

Habeas Corpus Ad Testificandum. [D.E. 429]. Defendant Crutchfield

has latched on to the word “abuse” in Plaintiff’s Petition [D.E. 421] to

disingenuously prevent Plaintiff’s incarcerated witnesses from

appearing at trial by conflating the retaliatory conduct of Defendant

Crutchfield attendant to Plaintiff’s First Amendment retaliation claim

with Plaintiff’s extinguished Eighth Amendment claims.
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Dated: February 3, 2022.

                                   Respectfully submitted,

                                   SLATER LEGAL PLLC

                                   By: /s/ James M. Slater
                                        James M. Slater (FBN 111779)
                                        113 S. Monroe Street
                                        Tallahassee, Florida 32301
                                        james@slater.legal
                                        Tel: (305) 523-9023

                                   LAW OFFICE OF JAMES COOK

                                   By: /s/ James V. Cook
                                        James V. Cook (FBN 0966843)
                                        314 W. Jefferson Street
                                        Tallahassee, Florida 32301
                                        Tel. (850) 222-8080
                                        Fax (850) 561-0836
                                        cookjv@gmail.com

                                         Counsel for Plaintiff



                     CERTIFICATE OF SERVICE

     I hereby certify that on February 3, 2022, I electronically filed the

foregoing document with the Clerk by using the CM/ECF system, which

will serve a copy on all counsel of record.

                                         By: /s/ James M. Slater
                                              James M. Slater



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          CERTIFICATE OF GOOD FAITH CONFERENCE

      I hereby certify pursuant to Local Rule 7.1(B) that I have

conferred in good faith with opposing counsel and opposing counsel

opposes the relief requested herein.

                                           By: /s/ James M. Slater
                                                James M. Slater

            CERTIFICATION PURSUANT TO L.R. 7.1(F)

      Pursuant to Local Rule 7.1(F), I hereby certify that the foregoing

document contains 80 words, inclusive of headings, footnotes, and

quotations, but exclusive of the case style, signature block and

certificates.

                                           By: /s/ James M. Slater
                                                James M. Slater




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